   Case 2:05-cr-00237-DRH     Document 60     Filed 08/11/05     Page 1 of 2 PageID #: 116

            CRIMINAL CAUSE FOR MOTION HEARING

   BEFORE JUDGE: HURLEY, J. DATE: AUGUST 11, 2005              TIME: 1:30M-2:15

   DOCKET NUMBER: CR-05-0237                TITLE:    USA   V. McCABE, et. al.




   DEFT. NAME: JAMES MAINELLO                     DFT. #:  2
           X   PRESENT,  NOT PRESENT, X        IN CUSTODY,         ON BAIL

      ATTY FOR DEFT.: ANTHONY LA PINTA                                    X     CJA
              PRESENT,    NOT PRESENT                                          RET
                                                                              PDA

   A.U.S.A.: JAMES MISKIEWICZ & JAMES McGOVERN       DEPUTY CLERK:     TRISH BEST

   COURT REPORTER(S) OR ESR OPERATOR: PERRY AUERBACH


X CASE CALLED. KCE

X MOTION CONFERENCE HELD ON DEFENDANT 'S MOTION TO SEVER JAMES MAINELLO FROM
COUNT 1 OF THE SUPERSEDING INDICTMENT.

X ARGUMENTS HEARD       MOTION GRANTED. X MOTION DENIED.             DECISION RESERVED.

X DECISION ENTERED INTO THE RECORD.

 FOR THE REASONS STATED ON THE RECORD THE COURT DENIES DEFENDANT’S MOTION TO SEVER.
DEFENDANT HAS NOT SHOWN THAT A SPECIFIC TRIAL RIGHT WILL BE PREJUDICED BY DELAYING
THE TRIAL DATE; NOR HAS DEFENDANT SHOWN THAT A DELAY WILL CAUSE IRREPARABLE HARM
IF A SEVERANCE IS NOT GRANTED.

 THE JURY SELECTION AND TRAIL SCHEDULED FOR MONDAY AUGUST 15, 2005 IS CANCELLED.
MAGISTRATE MICHAEL ORENSTEIN HAS BEEN ADVISED OF TRIAL CANCELLATION.

X STATUS CONFERENCE SET FOR AUGUST 24, 2005 AT 11:30 AM.

   THE GOVERNMENT IS TO SUBMIT LETTER BRIEF IN SUPPORT OF IT’S POSITION THAT THE CASE
  SHOULD BE DEEMED COMPLEX BY AUGUST 19, 2005; DEFENDANT’S RESPONSE BY AUGUST 23,2005.
  THE MATTER OF COMPLEXITY WILL BE ADDRESSED AT THE 8/24 CONFERENCE.


X DEFT MAINELLO             REMAIN IN CUSTODY.
   Case 2:05-cr-00237-DRH   Document 60   Filed 08/11/05   Page 2 of 2 PageID #: 117




OTHER:
